             Case
              Case2:14-cr-00220-JCM-GWF
                    2:14-cr-00220-JCM-GWF Document
                                          Document26  Filed07/22/14
                                                   25 Filed 07/23/14 Page
                                                                      Page11
                                                                           ofof
                                                                              33




         l      DANIEL G.BOGDEN
                United States Attorney
      2         CHRISTINA M.BROWN
                Assistant United States Attomcy
      3         DISTRICT OF NEVADA
                333 Las Vegas BOulcvard.sOuth,suitc 5000
      4         Las Vegas,Nevada 89101
                TclephOne:(702)388‑6336
      5

      6                                       UNITED STATES DISTRICT COURT
      7                                               DISTItICT OF NEVADA
     8                                                           ―o()o‐


     9         UNITED STATES OF AMERICA,                            Case No. 2J4‑c卜 o0220‐ 02‐ .ICM― GWF

 10                                    Plainti範
                                                                    STIPULAT10N FOR PROTECTIVE ORr)ER
 11            VS.


 12            COLLEWE WINN,

 13                                   Defendant.

 14

 15                   lT IS HEREBY STIPULATED AND AGREED betweerr the parties, Daniel G. Boertcrr.

 16            United States Attorney for the District of Nevada, and Christina M. Brown, Assistant Unitcd Srulcs

17            Attorney, counsel forthe United States, Monique N. Kirtley, Assistant Federal Public Defencler.

18            counsel for defendant COLLETTE WINN, that this Court issue an Order protecting from disclosure

19            to the public any discovery documents containing the personal identifying information such as social

20            security numbers, driver's Iicense numbers, dates of birth, or addresses, of participants, rvitrrcsscs

21            and victims in this case. Such documents shall be referred to hereinafter as "Protected Docurncuts."

22            The parties state as follows:

23                    l.     Protected Documents which will be used by the govemment in its case in chiel'

24            include personal identifiers, including social security numbers, driver's license numbers, dates of
          Case
           Case2:14-cr-00220-JCM-GWF
                 2:14-cr-00220-JCM-GWF Document
                                       Document26  Filed07/22/14
                                                25 Filed 07/23/14 Page
                                                                   Page22
                                                                        ofof
                                                                           33




      I      birth, and addresses, of participants, witnesses, and victims in this case.

      2              2.      Discovery in this case is voluminous. Many of the documerrts incluclc 1;crsorrrl

     3       identifiers. Redacting the persorral identifiers of participants, witnesses, ancl victims wor.rld prcvcr)t

     4       the timely disclosure of discovery to defendant.

     5              3.      The United States agrees to provide Protected Documents witlrout redacting the

     6       personal identifiers of participants, witnesses, and victims.

     7              4.      Access to Protected Documents will be restricted to persons authorizecl by the C-'oLrr.t.

     8      namely defendant, attorney(s) of record and attorneys' paralegals, investigators, expcrts, arrd

     9      secretaries employed by the attorney(s) of record and performing on behalf of def'endarrr.

 t0                 5.      The following restrictions will be placed on defendant, defendant's attorrrcy(s) arrd

 ll         the above-designated individuals unless and until further ordered by the Court. Del'errdants,

 l2         defendants' attorneys and the above-designated individuals shall not:

 t3                         a.      make copies for, or allow copies of any kind to be made by arry o(lrer persorr

t4          of Protected Documents;

l5                         b.      allow any other person to read Protected Documents; and

t6                         c.      use Protected Documents for any other purpose other than preparing to cle{'crrcl

t7          against the charges in the Indictment or any further superseding indictnrent arising out of this casc.

r8                 6.      Defendant's attorney(s) shall inform any person to whom disclosure may be rnade

t9          pursuant to this order of the existence and terms of this Court's order.

20                 7.      The requested restrictions shall not restrict the use or introduction as evidencc of

2l         discovery documents containing personal identifying information such as social security uurnbers,

22         driver's license numbers, dates of birth, and addresses during the trial of this matter.

23

24
                                                                つん
          Case
           Case2:14-cr-00220-JCM-GWF
                 2:14-cr-00220-JCM-GWF Document
                                       Document26  Filed07/22/14
                                                25 Filed 07/23/14 Page
                                                                   Page33
                                                                        ofof
                                                                           33




      ￨             8.      lJpon conclusion of this action, defendant's attorney(s) shall return t() g()vcnu)1cnt

     2      counsel or destroy and certify to government counse I the destruction of all discovcry cloctrrncrrrs

     3      containing personal identifying information such as social security numbers, driver's Iiccnsc

     4      numbers, dates of birth, and addresses within a reasonable time, not to exceed thirty days alicr thc

     5      last appeal is final or as otherwise required by counsel's professional responsibility rcquircrricnts.

     6             DATED this 2乙 day OfJuり ,2014.
     7                                                     DANIEL G. BOG

     8


     9
                                                           CHRISTINA M.BR
 i0                                                        Assistant U.S. Attorrrev

11                                                                L.VALLADARES
                                                            ederal Public Deltnder
12


13
                                                                             IR
14

15
                                                            ORDER
16
            IT IS S0 0RDERED this    23rd     day of      July             2014.
17

18

19
                                                         _____________________________
                                                         UNITED STATES DISTRICT JUDGE
20
                                                         GEORGE FOLEY, JR.
                                                         United States Magistrate Judge
21


22

23

24
